                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ARIZONA


United States of America                  v.     Town of Colorado City, et al.
Judge H. Russel Holland                          Case No.    3:12-cv-8123-HRH
                                                               (Prescott Division)


PROCEEDINGS:         ORDER FROM CHAMBERS



       The court is in receipt of a Notice of Filing of Monitor’s and Police Consultant’s

Reports,1 covering the November 1, 2018, report of Court Monitor Roger Carter and the

October 29, 2018, report of Police Consultant Jim Keith.

       The court thanks the Court Monitor and Police Consultant for their timely and
detailed reports. The court is impressed with the progress which the citizens and officials

of Colorado City and Hildale have made in addressing the court’s concerns and its

judgment in this case. It is especially reassuring to hear of the progress that has been made
in the staffing and operation of the CCMO.
       The court has one concern as a result of the current reports. Both the Court

Monitor and Police Consultant have observed that the Department of Justice’s policy
approval process has been slower than expected. Counsel for plaintiff will please look
into the matter – perhaps seeking further input from both the Court Monitor and Police

Consultant – and then consult with appropriate DOJ personnel for purposes of addressing
this concern.

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       Docket No. 1165.

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      The court looks forward to receiving the next reports of the Court Monitor and
Police Consultant on or about February 1, 2019.




cc:   Roger Carter; 111 North 100 East; Washington City, UT 84780
      Donald James Keith; 1926 South Summerfield Lane; Washington, Utah 84780




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